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                     EXHIBIT F
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                                                                          Page 1


                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF NEW YORK

                   CASE NO. 15-CV-07433-RWS


------------------------------------------x
VIRGINIA L. GIUFFRE,


                                Plaintiff,
v.
GHISLAINE MAXWELL,
                                Defendant.


-------------------------------------------x


                                June 21, 2016
                                9:17 a.m.

                   C O N F I D E N T I A L
        Deposition of JOSEPH RECAREY, pursuant
        to notice, taken by Plaintiff, at the
        offices of Boies Schiller & Flexner, 401
        Las Olas Boulevard, Fort Lauderdale, Florida,
        before Kelli Ann Willis, a Registered
        Professional Reporter, Certified Realtime
        Reporter and Notary Public within and
        for the State of Florida.




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                                                                 Page 178
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2    BY MR. PAGLIUCA:
 3          Q.    Then there's a category, victim
 4    information, and then we have listed, I believe, a
 5    total of 17 individuals that the Palm Beach Police
 6    Department incident report lists as alleged victims
 7    in this case, correct?
 8          A.    Correct.
 9          Q.    And are you aware as to whether or not
10    that list was supplemented after July 25th, 2006, in
11    the investigative incident report?
12          A.    I'm not sure if it was updated or not.
13                MR. PAGLIUCA:      I don't know if we want to
14          mark this or not.       I can hand you what I
15          believe to be a more recent, or I think you
16          actually brought one with you --
17                THE WITNESS:      I did.
18                MS. SCHULTZ:      If you're talking about the
19          document that he brought with him, I had it
20          Bates labeled.
21                MR. PAGLIUCA:      We can show him that.           I
22          think I have the same document here.            And we
23          can -- I guess we'll mark that as 11.
24
25




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                                                                 Page 179
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2                (The referred-to document was marked by
 3          the court reporter for Identification as
 4          Deposition Exhibit 11.)
 5    BY MR. PAGLIUCA:
 6          Q.    If you look at the -- is that what you're
 7    looking at?
 8                MS. SCHULTZ:      That's mine.      I just wanted
 9          to make sure it's the same.
10    BY MR. PAGLIUCA:
11          Q.    If you go into the third -- I think it's
12    the third page of that document, we then end with VI
13    17 Juno.
14                Do you see that?
15          A.    Yes.
16          Q.    So that would tell me that there were no
17    individuals listed as additional victims as of the
18    conclusion of your investigation in this case; is
19    that correct?
20                MS. SCHULTZ:      Object to form and
21          foundation.
22                THE WITNESS:      That's correct.
23    BY MR. PAGLIUCA:
24          Q.    Okay.    So let's stick with Exhibit 1, and
25    let's go to Narrative No. 1, which is on page 11 of




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                                                                 Page 180
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2    Exhibit 1.     Are you with me?
 3          A.    Uh-huh.
 4          Q.    Okay.    Again, this was information that
 5    was obtained by Detective Pagan, correct?
 6          A.    Correct.
 7          Q.    And it's true, is it not, that this
 8    alleged victim never claimed to have been recruited
 9    by Ghislaine Maxwell; true?
10                MS. SCHULTZ:      Object to form and
11          foundation.
12                THE WITNESS:      Correct.
13    BY MR. PAGLIUCA:
14          Q.    And this individual, alleged victim No. 1,
15    never identified Ghislaine Maxwell as being at
16    Mr. Epstein's house when she was there, correct?
17                MS. SCHULTZ:      Object to form and
18          foundation.
19                THE WITNESS:      I don't believe so.
20    BY MR. PAGLIUCA:
21          Q.    You don't believe so --
22          A.    I don't believe so.
23          Q.    That she ever identified Ghislaine Maxwell
24    as being in the house?
25          A.    Right.




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                                                                 Page 181
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2          Q.    Okay.    She never -- this individual,
 3    victim No. 1, never claimed that Ghislaine Maxwell
 4    paid her any money, correct?
 5          A.    Correct.
 6          Q.    And this individual No. 1 never claimed
 7    that Ms. Maxwell instructed her what to wear,
 8    correct?
 9          A.    Right.
10          Q.    This individual never claimed that
11    Ghislaine Maxwell told her how to act, correct?
12          A.    Correct.
13          Q.    This individual never claimed to have met
14    Ghislaine Maxwell ever, correct?
15          A.    I don't believe so, no.
16          Q.    This individual never claimed to even have
17    spoken to Ghislaine Maxwell ever, correct?
18          A.    I don't believe so, no.
19          Q.    And when you say "I don't believe so, no,"
20    that means my statement to you is correct; is that
21    right?
22                MS. SCHULTZ:      Object to form, foundation.
23                THE WITNESS:      Well, you're saying "ever."
24          I don't know if she's ever, ever spoken to --
25




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                                                                 Page 182
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2    BY MR. PAGLIUCA:
 3          Q.    To Detective Pagan.
 4          A.    Right.     To my knowledge, I don't know,
 5    because Detective Pagan is the one who actually
 6    interviewed her.       So I don't know to the answer of
 7    "ever."    So not to my knowledge.
 8          Q.    Certainly, nothing in Exhibit 1, Narrative
 9    1 reflects that this individual ever met or talked
10    to or spoke to Ghislaine Maxwell, right?
11          A.    Right.     Not to my knowledge.
12          Q.    And, indeed, you would agree with me that
13    if this individual claimed that Ms. Maxwell had
14    something to do with the events listed in Narrative
15    1, you would have folded up on it, as the
16    investigating detective, right?
17                MS. SCHULTZ:      Object to the form.
18                THE WITNESS:      Either myself or Detective
19          Pagan would have.
20    BY MR. PAGLIUCA:
21          Q.    Sure.    And when you got the case six
22    months later, if there hadn't been follow-up, you
23    would have followed up on it, right?
24                MS. SCHULTZ:      Object to form.
25                THE WITNESS:      Correct.




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                                                                 Page 191
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2          A.    Yes.
 3          Q.    And then you asked various individuals who
 4    was there when you went to Mr. Epstein's house,
 5    right?
 6          A.    Correct.
 7          Q.    And you then, to the best of your ability,
 8    recorded those answers, I take it, as to who was
 9    there, right?
10          A.    Yes.
11
12
13
            Q.    And with regard to
                                          -
      anything about Ghislaine Maxwell being at
      Mr. Epstein's house, did she?
                                                she never said




14                MS. SCHULTZ:      Object to form and
15          foundation.
16    BY MR. PAGLIUCA:
17          Q.    To you?
18          A.    I don't believe she did.
19          Q.    Okay.    And if she did, it's likely that
20    you would have recorded it, correct?
21          A.    Correct, and it would be on the -- it
22    would be on the tape.
23          Q.    Right.
24
25
                  She never claimed,
      paid her, right?                    -     that Ms. Maxwell




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                                                                 Page 192
 1                    JOSEPH RECAREY - CONFIDENTIAL
 2                MS. SCHULTZ:      Object to form and
 3          foundation.
 4                THE WITNESS:      Correct.
 5    BY MR. PAGLIUCA:
 6          Q.    She never claimed that -- ■ never claimed
 7    that Ms. Maxwell instructed her about what to wear,
 8    correct?
 9                MS. SCHULTZ:      Object to the form.
10                THE WITNESS:      Correct.
11    BY MR. PAGLIUCA:
12          Q.    ■ never claimed that Ms. Maxwell told her
13    how to act at Mr. Epstein's house, correct?
14                MS. SCHULTZ:      Object to form.
15                THE WITNESS:      Correct.
16    BY MR. PAGLIUCA:
17          Q.    ■ never claimed to have met Ghislaine
18    Maxwell anywhere, correct?
19                MS. SCHULTZ:      Object to form.
20                THE WITNESS:      I don't believe so, no.
21    BY MR. PAGLIUCA:
22          Q.    Okay.    If we go on to individual alleged
23    victim No. 3, AY, the same question:            AY never
24    identified Ms. Maxwell as someone she knew or
25    interacted with in any fashion, correct?




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                                                                  Page 193
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MS. SCHULTZ:      Object to form.
 3                 THE WITNESS:      No.
 4    BY MR. PAGLIUCA:
 5          Q.     No, she did not?
 6          A.     No, she did not.
 7          Q.     Okay.    The same with individual No. 4,
 8    alleged victim FP:        Again, FP never claimed to have
 9    met with Ms. Maxwell, correct?
10                 MS. SCHULTZ:      Object to form and
11          foundation.
12                 THE WITNESS:      I don't believe so, no.
13    BY MR. PAGLIUCA:
14          Q.     Okay.    And FP never identified Ms. Maxwell
15    as someone being at Mr. Epstein's house, correct?
16                 MS. SCHULTZ:      Object to form and
17          foundation.
18    BY MR. PAGLIUCA:
19          Q.     And if you need to look at your report --
20          A.     No, I don't -- I don't believe so.            The
21    only people that recalled Ghislaine at the house
22    was --
23          Q.     Sjoberg?
24          A.     Johanna Sjoberg.
25          Q.     Who was over the age of 18, correct?




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                                                                  Page 194
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MS. SCHULTZ:      Object to form and
 3          foundation.
 4                 THE WITNESS:      And Venero, Christina
 5          Venero.
 6    BY MR. PAGLIUCA:
 7          Q.     Who is an adult as well?
 8                 MS. O'CONNOR:      Object to form.
 9                 THE WITNESS:      Yes.
10    BY MR. PAGLIUCA:
11          Q.     So out of your entire report, the only two
12    people who ever said anything about Ms. Maxwell were
13    Ms. Sjoberg, who I believe was 23 when you
14    interviewed her?
15          A.     Right, but she was --
16                 MS. SCHULTZ:      Object to form and
17          foundation.
18                 THE WITNESS:      She was -- she had worked
19          there for quite some time, so you would have to
20          back up, I think, a year or two.
21    BY MR. PAGLIUCA:
22          Q.     She was an adult when she worked there?
23          A.     Right.    She was over the age of 18, right,
24    let's put it that way.
25          Q.     And she was not listed by you as a victim




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                                                                  Page 195
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2    as part of this case, right?
 3          A.     Correct, because it was between two
 4    consenting adults.
 5          Q.     Exactly.
 6                 And so that's Ms. Sjoberg, and then the
 7    other individual, I think you said Bolero; is that
 8    right?
 9          A.     Venero, Christina Venero.         She's a --
10          Q.     Adult masseuse, correct?
11          A.     Yes.   I remember she had lots of tattoos.
12          Q.     Tatts, right.
13                 But the 17 individuals that you listed in
14    Exhibit 1, none of those individuals ever said the
15    word -- the words "Ghislaine Maxwell" during the
16    course of this investigation to you, correct?
17                 MS. SCHULTZ:      Object to form and
18          foundation.
19                 THE WITNESS:      I don't believe so.       It
20          would be on the tapes if they did.
21    BY MR. PAGLIUCA:
22          Q.     Well, or it would be in your report,
23    right?
24                 MS. SCHULTZ:      Object to form and
25          foundation.




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                                                                  Page 211
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2          A.     Correct.
 3          Q.     And then Mr. Epstein is arrested and ends
 4    up pleading guilty and all of that, right?
 5                 MS. SCHULTZ:      Object to form.
 6                 THE WITNESS:      I think there was a
 7          non-prosecution agreement prepared between the
 8          Feds and some kind of agreement was made.                 But,
 9          yes, he did end up pleading guilty.
10    BY MR. PAGLIUCA:
11          Q.     All right.
12                 Now, based on the questions that were
13    asked of you in the grand jury, it's fair to say
14    that Ms. Maxwell was not a target of the grand
15    jury's investigation, correct?
16                 MS. SCHULTZ:      Object to form and
17          foundation.
18                 THE WITNESS:      Not based on the questions
19          that the state was asking me, no, the state
20          wasn't...
21    BY MR. PAGLIUCA:
22          Q.     In fact, it's fair to say that you never
23    said Ms. Maxwell's name in the grand jury, right?
24                 MS. SCHULTZ:      Object to form and
25          foundation.




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                                                                  Page 212
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 THE WITNESS:      No.   Based on the questions
 3          that the state was asking, no.
 4    BY MR. PAGLIUCA:
 5          Q.     Were you aware of who was being issued
 6    subpoenas by the grand jury?
 7          A.     No.   But it wasn't the actual subpoena
 8    from the grand jury; it came from the State
 9    Attorney's Office.
10          Q.     At the direction of the grand jury,
11    though, right?
12                 MS. SCHULTZ:      Object to form and
13          foundation.
14                 THE WITNESS:      I don't know.      Again, I
15          don't know.
16    BY MR. PAGLIUCA:
17          Q.     I would like to talk a little bit about
18    the surveillance that you initiated at Mr. Epstein's
19    house, okay?
20                 Can you tell me when the surveillance
21    began?
22          A.     It would have started under Detective
23    Pagan and gone through --
24          Q.     The entire investigation?
25          A.     Pretty much trash pulls.         We stopped the




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                                                                  Page 214
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2          Q.     And so these were video cameras?
 3          A.     Correct.
 4          Q.     And so whoever was coming and going,
 5    whenever -- an officer saw somebody coming or going,
 6    they would videotape that person; is that correct?
 7          A.     Or they would just leave the video
 8    rolling, time lapse.
 9          Q.     And did you have the opportunity to
10    observe any of that video?
11          A.     I did observe a couple, but the person who
12    actually set it up would review it and then submit a
13    supplement to the report.
14          Q.     Okay.    It's true that none of the video of
15    the surveillance led to the identification of
16    Ghislaine Maxwell as coming or leaving the house
17    during the time of surveillance, correct?
18                 MS. SCHULTZ:      Object to form and
19          foundation.
20                 THE WITNESS:      I don't know.      I didn't see
21          all of the video, so I can't -- I can't attest
22          to that.
23    BY MR. PAGLIUCA:
24          Q.     Okay.    Did anybody report to you that
25    Ms. Maxwell was seen coming or going?




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                                                                   Page 215
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2                 MS. SCHULTZ:      Object to form, foundation.
 3                 THE WITNESS:      I don't recall.
 4    BY MR. PAGLIUCA:
 5          Q.     If someone had reported to you that
 6    Ms. Maxwell was seen coming or going, you would have
 7    recorded it in your Palm Beach Police Department
 8    incident report, Exhibit No. 1, correct?
 9                 MS. SCHULTZ:      Object to form and
10          foundation.
11                 THE WITNESS:      I would have told the
12          officer who was conducting the surveillance or
13          reviewing the video to document it in the
14          supplements.
15    BY MR. PAGLIUCA:
16          Q.     And there is no documentation in the
17    supplement of Ms. Maxwell either coming or going
18    from Mr. Epstein's house during this time frame,
19    correct?
20                 MS. SCHULTZ:      Object to the form.
21                 THE WITNESS:      I don't believe so.       I
22          don't -- I don't -- I don't believe so.
23    BY MR. PAGLIUCA:
24          Q.     And, again, so we're on the same page,
25    when you say "I don't believe so," I interpret that




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                                                                  Page 216
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2    as her name is not in here as someone who was
 3    incoming or going; am I correct in my
 4    interpretation?
 5                 MS. SCHULTZ:      Object to form and
 6          foundation.
 7                 THE WITNESS:      Again, I don't know.        I
 8          don't believe so.
 9    BY MR. PAGLIUCA:
10          Q.     I'm just trying to understand what "I
11    don't believe so" means, okay?
12          A.     I don't -- I don't believe it's in the
13    report, no.
14          Q.     Okay.    "I don't believe it's in the
15    report" that she was ever seen coming or going,
16    right?
17          A.     Right, that's what I'm saying.
18          Q.     All right.     We're on the same page.
19                 The trash pulls, do you recall how many
20    trash pulls were done?
21          A.     There were numerous trash pulls done.
22    There was trash pulls down under Detective Pagan and
23    under my request.
24          Q.     As I understand the trash pull protocol,
25    you or someone at your direction or Detective




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                                                                  Page 257
 1                     JOSEPH RECAREY - CONFIDENTIAL
 2          A.     I don't believe clothing was seized.
 3          Q.     To your knowledge, did you seize any
 4    property belonging to Ghislaine Maxwell from the
 5    home?
 6                 MS. SCHULTZ:      Object to form and
 7          foundation.
 8                 THE WITNESS:      I'm not sure.      Not to my
 9          knowledge.
10    BY MS. SCHULTZ:
11          Q.     Okay.    No one ever came to you and said,
12    Could you please return these items to Ms. Maxwell,
13    correct?
14                 MS. SCHULTZ:      Object to form.
15                 THE WITNESS:      No.
16    BY MS. SCHULTZ:
17          Q.     All right.
18                 You did that with Janush?
19          A.     Yes, he had photos and --
20          Q.     But nothing like that ever happened with
21    Ms. Maxwell, correct?
22                 MS. SCHULTZ:      Object to form.
23                 THE WITNESS:      No.
24    BY MS. SCHULTZ:
25          Q.     Ms. Maxwell was not present when you




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